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 8
                                UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11      Orlando Garcia,                           Case No.

12                Plaintiff,
                                                  Complaint For Damages And
13        v.                                      Injunctive Relief For Violations
                                                  Of: Americans With Disabilities
14      R.A. Glendale LLC, a California           Act; Unruh Civil Rights Act
        Limited Liability Company;
15      Marshalls of CA, LLC, a Virginia
        Limited Liability Company; and
16      Does 1-10,

17                Defendants.

18
19          Plaintiff Orlando Garcia complains of R.A. Glendale LLC, a California

20    Limited Liability Company; Marshalls of CA, LLC, a Virginia Limited Liability

21    Company; and Does 1-10 (“Defendants”), and alleges as follows:

22
23      PARTIES:

24      1. Plaintiff is a California resident with physical disabilities. Plaintiff is a

25    level C-5 quadriplegic. He also suffers from Cerebral Palsy. He has manual

26    dexterity issues. He uses a wheelchair for mobility.

27      2. Defendant R.A. Glendale LLC owned the real property located at or

28    about 100 S. Brand Blvd., Glendale, California, in March 2020.


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 1      3. Defendant R.A. Glendale LLC owns the real property located at or about
 2    100 S. Brand Blvd., Glendale, California, currently.
 3      4. Defendant Marshalls of CA, LLC owned Marshalls located at or about
 4    100 S. Brand Blvd., Glendale, California, in March 2020.
 5      5. Defendant Marshalls of CA, LLC owns Marshalls (“Store”) located at or
 6    about 100 S. Brand Blvd., Glendale, California, currently.
 7      6. Plaintiff does not know the true names of Defendants, their business
 8    capacities, their ownership connection to the property and business, or their
 9    relative responsibilities in causing the access violations herein complained of,
10    and alleges a joint venture and common enterprise by all such Defendants.
11    Plaintiff is informed and believes that each of the Defendants herein,
12    including Does 1 through 10, inclusive, is responsible in some capacity for the
13    events herein alleged, or is a necessary party for obtaining appropriate relief.
14    Plaintiff will seek leave to amend when the true names, capacities,
15    connections, and responsibilities of the Defendants and Does 1 through 10,
16    inclusive, are ascertained.
17
18      JURISDICTION & VENUE:
19      7. The Court has subject matter jurisdiction over the action pursuant to 28
20    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
21    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
22      8. Pursuant to supplemental jurisdiction, an attendant and related cause
23    of action, arising from the same nucleus of operative facts and arising out of
24    the same transactions, is also brought under California’s Unruh Civil Rights
25    Act, which act expressly incorporates the Americans with Disabilities Act.
26      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
27    founded on the fact that the real property which is the subject of this action is
28    located in this district and that Plaintiff's cause of action arose in this district.


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 3      FACTUAL ALLEGATIONS:
 4      10. Plaintiff went to the Store in March 2020 with the intention to avail
 5    himself of its goods and to assess the business for compliance with the
 6    disability access laws.
 7      11. The Store is a facility open to the public, a place of public
 8    accommodation, and a business establishment.
 9      12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
10    to provide wheelchair accessible restrooms in conformance with the ADA
11    Standards as it relates to wheelchair users like the plaintiff.
12      13. On information and belief, the defendants currently fail to provide
13    wheelchair accessible restrooms.
14      14. These barriers relate to and impact the plaintiff’s disability. Plaintiff
15    personally encountered these barriers.
16      15. As a wheelchair user, the plaintiff benefits from and is entitled to use
17    wheelchair accessible facilities. By failing to provide accessible facilities, the
18    defendants denied the plaintiff full and equal access.
19      16. The failure to provide accessible facilities created difficulty and
20    discomfort for the Plaintiff.
21      17. The defendants have failed to maintain in working and useable
22    conditions those features required to provide ready access to persons with
23    disabilities.
24      18. The barriers identified above are easily removed without much
25    difficulty or expense. They are the types of barriers identified by the
26    Department of Justice as presumably readily achievable to remove and, in fact,
27    these barriers are readily achievable to remove. Moreover, there are numerous
28    alternative accommodations that could be made to provide a greater level of


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 1    access if complete removal were not achievable.
 2      19. Plaintiff will return to the Store to avail himself of its goods and to
 3    determine compliance with the disability access laws once it is represented to
 4    him that the Store and its facilities are accessible. Plaintiff is currently deterred
 5    from doing so because of his knowledge of the existing barriers and his
 6    uncertainty about the existence of yet other barriers on the site. If the barriers
 7    are not removed, the plaintiff will face unlawful and discriminatory barriers
 8    again.
 9      20. Given the obvious and blatant nature of the barriers and violations
10    alleged herein, the plaintiff alleges, on information and belief, that there are
11    other violations and barriers on the site that relate to his disability. Plaintiff will
12    amend the complaint, to provide proper notice regarding the scope of this
13    lawsuit, once he conducts a site inspection. However, please be on notice that
14    the plaintiff seeks to have all barriers related to his disability remedied. See
15    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
16    encounters one barrier at a site, he can sue to have all barriers that relate to his
17    disability removed regardless of whether he personally encountered them).
18
19    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
20    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
21    Defendants.) (42 U.S.C. section 12101, et seq.)
22      21. Plaintiff re-pleads and incorporates by reference, as if fully set forth
23    again herein, the allegations contained in all prior paragraphs of this
24    complaint.
25      22. Under the ADA, it is an act of discrimination to fail to ensure that the
26    privileges, advantages, accommodations, facilities, goods and services of any
27    place of public accommodation is offered on a full and equal basis by anyone
28    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.


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 1    § 12182(a). Discrimination is defined, inter alia, as follows:
 2             a. A failure to make reasonable modifications in policies, practices,
 3                or procedures, when such modifications are necessary to afford
 4                goods,      services,   facilities,   privileges,    advantages,    or
 5                accommodations to individuals with disabilities, unless the
 6                accommodation would work a fundamental alteration of those
 7                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8             b. A failure to remove architectural barriers where such removal is
 9                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
10                defined by reference to the ADA Standards.
11             c. A failure to make alterations in such a manner that, to the
12                maximum extent feasible, the altered portions of the facility are
13                readily accessible to and usable by individuals with disabilities,
14                including individuals who use wheelchairs or to ensure that, to the
15                maximum extent feasible, the path of travel to the altered area and
16                the bathrooms, telephones, and drinking fountains serving the
17                altered area, are readily accessible to and usable by individuals
18                with disabilities. 42 U.S.C. § 12183(a)(2).
19      23. When a business provides facilities such as restrooms, it must provide
20    accessible restrooms.
21      24. Here, accessible restrooms have not been provided in conformance with
22    the ADA Standards.
23      25. The Safe Harbor provisions of the 2010 Standards are not applicable
24    here because the conditions challenged in this lawsuit do not comply with the
25    1991 Standards.
26      26. A public accommodation must maintain in operable working condition
27    those features of its facilities and equipment that are required to be readily
28    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).


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 1       27. Here, the failure to ensure that the accessible facilities were available
 2    and ready to be used by the plaintiff is a violation of the law.
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 5
 6    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 7    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 8    Code § 51-53.)
 9       28. Plaintiff repleads and incorporates by reference, as if fully set forth
10    again herein, the allegations contained in all prior paragraphs of this
11    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
12    that persons with disabilities are entitled to full and equal accommodations,
13    advantages, facilities, privileges, or services in all business establishment of
14    every kind whatsoever within the jurisdiction of the State of California. Cal.
15    Civ. Code §51(b).
16       29. The Unruh Act provides that a violation of the ADA is a violation of the
17    Unruh Act. Cal. Civ. Code, § 51(f).
18       30. Defendants’ acts and omissions, as herein alleged, have violated the
19    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
20    rights to full and equal use of the accommodations, advantages, facilities,
21    privileges, or services offered.
22       31. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
23    discomfort or embarrassment for the plaintiff, the defendants are also each
24    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
25    (c).)
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 1           PRAYER:
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 3           Wherefore, Plaintiff prays that this Court award damages and provide
 4    relief as follows:
 5        1. For injunctive relief, compelling Defendants to comply with the
 6    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 7    plaintiff is not invoking section 55 of the California Civil Code and is not
 8    seeking injunctive relief under the Disabled Persons Act at all.
 9        2. Damages under the Unruh Civil Rights Act, which provides for actual
10    damages and a statutory minimum of $4,000 for each offense.
11        3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
12    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
13
      Dated: July 24, 2020             CENTER FOR DISABILITY ACCESS
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15
                                       By:
16
17                                     ________________________
18                                            Russell Handy, Esq.
19                                            Attorney for plaintiff

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